Case 3:14-cv-05266-VC Document 1-5 Filed 12/01/14 Page 1 of 2




       — EXHIBIT 5 —
                               Case 3:14-cv-05266-VC Document 1-5 Filed 12/01/14 Page 2 of 2
                     Alameda County District Attorney                                                        Nancy E. O' Malley
                     Bad Check Restitution Program                                                           District Attorney
                     PO Box 1079
                     Oakland, CA 94604-1079

                                            *08L4NQ1*
                                                     08L4NQ1



                 WARNING - SECOND NOTICE OF FAILURE TO COMPLY
           *** 0306-00749-001 kjb94063@hotmail.com
          3000000938 01.0000.0000 656/1                                                                     Office Hours: 9:00 a.m. - 5:00 p.m.
                                                                                                            Phone: (866)740-7398
                                                                                                            Date of Notice: 03/06/2014
          KEVIN J BREAZEALE                                                                                 Case #: 42411526
          37200 PASEO PADRE PKWY APT 152                                                                    Balance Due: $730.00
          FREMONT CA 94555
                                                                                                            Page: 1



You have failed to respond to the District Attorney's Notices regarding California Penal Code 476a, entitled "Making or
Delivering Check With Insufficient Funds". Prior attempts to resolve this situation have been unsuccessful.

You cannot participate in the Bad Check Restitution Program unless you contact this office prior to 03/13/2014. If you wish
to participate in the program, call this Office during the hours listed above.

Successful completion of the program requires that you comply with all Bad Check Restitution Program requirements
including full restitution, all fees and attendance of the Financial Accountability class. You may receive further notices
and/or phone calls while program requirements remain outstanding.

Our records indicate that you currently have an outstanding balance of $730.00.

Our records indicate you have not completed your Financial Accountability class requirement.

If you have already mailed or arranged your required payment(s) and completed or scheduled the educational class,
please disregard this Notice. Otherwise, please call (866)740-7398 or go to our secure website at
www.checkprogram.com. To access your file online you will need to enter your case number, which is 42411526, and the
following password: 39632773.

Thank you for your immediate attention to this matter.



Sincerely,



Nancy E. O' Malley
District Attorney
                                The Alameda County District Attorney's Bad Check Restitution Program is administered by a private
                                               entity under contract with the Alameda County District Attorney.




              To Make Payment/Schedule Class, call (866)740-7398 or www.checkprogram.com
                             Case Number: 42411526 Password: 39632773
   PAYMENTS ACCEPTED: CREDIT & DEBIT CARDS, WESTERN UNION, MONEY ORDERS, OR CASHIER'S CHECK
[656/1]                                                        03/06/2014        Doc # SecondFTC     6536         generic
